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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

 GREATER BOSTON LEGAL SERVICES,                   )
 et al.                                           )
                                                  )   UNOPPOSED MOTION FOR
                    Plaintiffs,                   )   EXTENSION OF TIME TO
                                                  )   FILE MOTION CHALLENGING THE
         v.                                       )   SUFFICIENCY OF THE
                                                  )   ADMINISTRATIVE RECORD
 U.S. DEPARTMENT OF HOMELAND                      )
 SECURITY, et al.                                 )   Civ. No. 21-cv-10083
                                                  )
         Defendants.                              )



        Plaintiffs respectfully request an eight-week extension to file their motion challenging the

sufficiency of the administrative record in the above-captioned case. As grounds for the request,

Plaintiffs state:

        1.      Plaintiffs—lawyers, a law firm, and a nonprofit legal services organization who

represent noncitizens in immigration matters—brought this Administrative Procedure Act case.

Complaint, ECF No. 1.

        2.      On April 21, 2023, the Court entered a scheduling order pursuant to the Parties’

April 2, 2023 Amended Joint Statement. ECF No. 92. This scheduling order included a briefing

schedule for any potential challenge by Plaintiffs to the sufficiency of the administrative record.

        3.      On May 16, 2023, the Parties filed a joint motion for a seven-day extension of the

deadlines associated with a potential challenge to the sufficiency of the administrative record.

ECF No. 94. The Court granted this motion and extended Plaintiffs’ deadline to file a motion

challenging the sufficiency of the administrative record until July 28, 2023. ECF No. 95.

        4.      On May 24, 2023, Defendants produced to Plaintiffs the administrative record

(herein, “Record”). Consistent with the extended deadlines, see ECF No. 95, on June 30, 2023,
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Plaintiffs notified Defendants by letter of their objections to the sufficiency of the Record. On

July 14, 2023, the Parties met and conferred by phone. The Parties agreed that it would be

beneficial to continue discussing the scope of the Record and had a second call on July 21, 2023.

The Parties agreed on the July 21 call that it would be beneficial to continue discussions about

Plaintiffs’ objections to the sufficiency of the Record and the potential resolution of those

objections outside of court.

          5.       The Parties are continuing their productive discussions about the scope of the

Record and hope to resolve some of Plaintiffs’ objections in the coming weeks. However, in

light of the ongoing discussions between the Parties, Plaintiffs require additional time to

determine whether to file a motion to challenge the sufficiency of the Record. Accordingly,

Plaintiffs request an eight-week extension to file their motion to challenge the sufficiency of the

Record, which will allow the Parties to conclude their discussions and the Plaintiffs to prepare

any motion that they might choose to file.

          6.       If granted, the extension will impact the Parties’ proposed schedule in the event of

a dispute about the sufficiency of the Record. The Plaintiffs, therefore, respectfully request those

dates be extended by a corresponding amount, as outlined below.1

               Description                      Deadline                       New Deadline

    Plaintiffs’ motion challenging July 28, 2023                       September 22, 2023
    the sufficiency of the
    administrative record if the
    Parties are unable to resolve
    any differences



1
 If the Parties agree prior to eight weeks that discussions concerning the scope of the Record are
no longer productive, Plaintiffs may file their motion challenging the sufficiency of the Record
sooner. Upon the filing of a motion by Plaintiffs, Defendant’ opposition to the motion would be
due 21 days after Plaintiffs file their motion, and Plaintiffs’ reply would be due 14 days after
Defendants file their opposition.
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 Defendants’ opposition to August 18, 2023                           October 13, 2023
 Plaintiffs’ motion
 Plaintiffs’ reply in support of September 1, 2023                   October 27, 2023
 motion


       7.      Undersigned counsel communicated with Defendants’ counsel who indicated that

they do not oppose the relief requested. See infra Rule 7.1(a)(2) Certification.

       8.      For the reasons described above, Plaintiffs contend that good cause exists for this

extension.

       WHEREFORE, Plaintiffs respectfully request that the Court grant this motion and extend

the deadline for Plaintiffs to file a motion to challenge the sufficiency of the administrative

record by eight weeks.

                                               /s/ John T. Montgomery
                                               John T. Montgomery (BBO #352220)
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Dated: July 26, 2023
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                              RULE 7.1(a)(2) CERTIFICATION

       On July 14, 2023, the Parties met and conferred to discuss the scope of the Record. The

Parties agreed to continue their discussion and held a second call on July 21, 2023. During the

July 21, 2023 call Plaintiffs’ counsel verbally notified Defendants’ counsel of their intention to

file a motion requesting an additional month to file their motion challenging the sufficiency of

the administrative record. Defendants’ counsel confirmed that they would not oppose the

motion.

                                              /s/ John T. Montgomery
                                              John T. Montgomery


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document will be served on all registered parties through the
court’s CM/ECF system.

                                              /s/ John T. Montgomery
                                              John T. Montgomery
